                            UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF WASHINGTON

STATE OF WASHINGTON, et al.,                            Case No. 1:23-CV-3026-TOR

                             Plaintiffs,                CIVIL MINUTES
                  vs.
                                                        DATE: 3/28/2022
U.S. FOOD AND DRUG ADMINISTRATION,
et al.,                                                 LOCATION: Spokane 902
                     Defendants.
                                                        PRELIMINARY INJUNCTION
                                                        MOTION HEARING

                                        JUDGE THOMAS O. RICE

Bridgette Fortenberry          LC 01                            N/A            Allison Anderson

Courtroom Deputy               Law Clerk                        Interpreter    Court Reporter

Kristin Beneski / Colleen Melody / Noah Purcell        Noah Katzen / Molly Smith / Aravind Sreenath
Plaintiffs’ Counsel                                    Defendants’ Counsel
 [ X ] Open Court                            [ ] Chambers                             [ X ] Telephonic

All parties present in the courtroom.

The Court has reviewed the record and the parties’ pleadings.

Motion pending before the Court are: [3] Motion for Temporary Restraining Order
                                    [52] Motion for Leave to File Amicus Brief

            Ms. Beneski presented argument in support of Plaintiffs’ motion.
            Mr. Katzen argued on behalf of the Defendants.
            Ms. Beneski argued in rebuttal.


The Court took the matter under advisement and will issue a detailed written order.

CONVENED: 8:28 AM           ADJOURNED : 9:10      AM   TIME: 42 MINS            [X] ORDER FORTHCOMING
